Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 1 of 16 Page ID #:1
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 2 of 16 Page ID #:2
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 3 of 16 Page ID #:3
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 4 of 16 Page ID #:4
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 5 of 16 Page ID #:5
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 6 of 16 Page ID #:6
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 7 of 16 Page ID #:7
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 8 of 16 Page ID #:8
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 9 of 16 Page ID #:9
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 10 of 16 Page ID #:10
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 11 of 16 Page ID #:11
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 12 of 16 Page ID #:12
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 13 of 16 Page ID #:13
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 14 of 16 Page ID #:14
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 15 of 16 Page ID #:15
Case 2:22-cv-05315 Document 1 Filed 07/31/22 Page 16 of 16 Page ID #:16
